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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:98CR126
                              )
          v.                  )
                              )
MIGUEL CALDERIN-RODRIQUEZ,    )                       ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on a motion by the

defendant, Miguel Calderin-Rodriquez, to reconsider the Court’s

order denying his fourth successive habeas corpus filing (Filing

No. 721).

            IT IS ORDERED that the motion is denied.

            DATED this 24th day of September, 2013.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
